Case 8:17-cv-00223-JLS-KES Document 17 Filed 03/15/18 Page 1 of 4 Page ID #:49



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   Attorneys for Plaintiff,
11 Damon Chandler
12                          UNITED STATES DISTRICT COURT
13                                 CENTRAL DISTRICT OF CALIFORNIA
                                        SOUTHERN DIVISION
14
15
16 Damon Chandler,                                 Case No.: 8:17-cv-00223-JLS-KES
17                           Plaintiff,            NOTICE OF SETTLEMENT
18
             vs.
19
20 Progressive Finance Holdings, LLC,
21                           Defendant.
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     8:17-cv-00223-JLS-KES                                          NOTICE OF SETTLEMENT
Case 8:17-cv-00223-JLS-KES Document 17 Filed 03/15/18 Page 2 of 4 Page ID #:50



 1         NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have
 2
     reached a settlement. The parties anticipate filing a Stipulation of Dismissal with
 3
 4 Prejudice pursuant to Fed. R. Civ. P. 41(a) within 60 days.
 5
 6
                                                By: /s/ Trinette G. Kent
 7                                              Trinette G. Kent, Esq.
 8                                              Lemberg Law, LLC
                                                Attorney for Plaintiff, Damon Chandler
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     8:17-cv-00223-JLS-KES                                            NOTICE OF SETTLEMENT
Case 8:17-cv-00223-JLS-KES Document 17 Filed 03/15/18 Page 3 of 4 Page ID #:51



 1                                 CERTIFICATE OF SERVICE
 2
           I, the undersigned, certify and declare that I am over the age of 18 years, and
 3
 4 not a party to the above-entitled cause. On March 15, 2018, I served a true copy of
 5 foregoing document(s): NOTICE OF SETTLEMENT.
 6
 7   BY ELECTRONIC FILING: I hereby Attorney for Progressive Finance
 8   certify that on March 15, 2018, a copy of Holdings, LLC
     the foregoing document was filed
 9   electronically. Notice of this filing will
10   be sent by operation of the Court's
     electronic filing system to all parties
11   indicated on the electronic filing receipt.
12   All other parties will be served by
     regular U.S. Mail. Parties may access
13   this filing through the Court's electronic
14   filing system.
15
16
           I am readily familiar with the firm's practice of collection and processing
17
18 correspondence for mailing. Under that practice it would be deposited with the U.S.
19 Postal Service on that same day with postage thereon fully prepaid in the ordinary
20
   course of business. I am aware that on motion of the party served, service is presumed
21
22 invalid if postal cancellation date or postage meter date is more than one day after the
23 date of deposit for mailing in affidavit.
24
         I hereby certify that I am employed in the office of a member of the Bar of this
25
26 Court at whose direction the service was made.
27         Executed on March 15, 2018.
28
                                                3
     8:17-cv-00223-JLS-KES                                            NOTICE OF SETTLEMENT
Case 8:17-cv-00223-JLS-KES Document 17 Filed 03/15/18 Page 4 of 4 Page ID #:52



 1
 2                                         By: /s/ Trinette G. Kent
                                           Trinette G. Kent, Esq.
 3                                         Lemberg Law, LLC
 4                                         Attorney for Plaintiff, Damon Chandler

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     8:17-cv-00223-JLS-KES                                     NOTICE OF SETTLEMENT
